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IN THE UNITED STATES DISTRICT COURT 5/%¢;»` @,q
FOR THE WESTERN DISTRICT oF TENNES§E§;N ""

EAsTERN DIVISION j;?<§?zj§£?/,§ "' 05
UNITED sTATEs OF AMERICA, ) ’l-’~¢<j€i§:"‘;}
) `“Mf/
Plaimiff, )
)
vs. ) No. 05-10004-T-An
)
MARY CHRISTINE GREEN, )
)
Defendant. )

 

ORDER DENYING MOTION TO RETAIN PSYCHOLOGIST

 

Defendant has filed a motion for a psychological evaluation prior to her sentencing
hearing. As grounds, Def`endant states that the evaluation is necessary to assist defense
counsel in presenting evidence of Defendant’s history of drug addiction and depression.
Defendant states that she is financially unable to obtain the evaluation on his own. For the
reasons set forth below, Defendant’s motion is DENIED.

A request for expert psychological services for use during sentencing is analyzed
under 18 U.S.C. § 3006A(e)(1). United States v. Osoba, 213 F.3d 913, 914 (6‘h Cir. 2000).
This section provides:

Counsel for a person who is financially unable to obtain investigative, expert,
or other services necessary for adequate representation may request them in
an ex parte application Upon finding, after appropriate inquiry in an ex parte
proceeding, that the services are necessary and that the person is financially
unable to obtain them, the court, or the United States magistrate judge if the
services are required in connection with a matter over which he has
jurisdiction, shall authorize counsel to obtain the services.

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I_d_. “A district court may deny a motion under this section if it finds that the requested

services are not necessary for adequate representation.“ Osoba, 213 F.3d at 916.

 

The applicable standard for a showing of necessity is set forth in Ake v. Oklahoma,

470 U.S. 68 (1985). As explained in Osoba ,

Under this Circuit's precedent interpreting Ake v. Oklahoma, 470 U.S. 68
(1985), the constitution only requires the government to furnish an indigent
criminal defendant psychiatric or psychological assistance during the
sentencing phase of a trial if 1) the defendant‘s sanity was a significant issue
during the trial, or 2) defendant is on trial for his life and the state first
presents psychiatric evidence of future dangerousness w Kordenbrock v.
Scroggy, 919 F.2d1091, 1120 (6th Cir.1990) (en banc ). Due process does not
mandate that Osoba be given psychological assistance in this case because his
sanity is not primarily at issue and he has not been convicted of a capital
offense.

213 F.3d at 917. The court further explained,

While the Sentencing Guidelines explicitly prohibit some avenues of
downward departure (such as race, socioeconomic status, lack of guidance as
a youth, or abuse of drugs and alcohol), a judge still has the discretion to
depart downward from the guidelines if that judge finds that a defendant had
a “significantly reduced mental capacity” at the time of the offense. We have
previously indicated that a defendant Who has the ability “‘to absorb
information in the usual way and to exercise the power of` reason”’ does not
have a mental or emotional disorder sufficient to trigger a downward
departure for diminished mental capacity.

I_d. at 916 (citations omitted).

In the present case, Defendant has not established that she is entitled to a psychiatric
evaluation under the standard set forth in A_ke nor do the factors she has cited indicate that
she cannot “absorb information in the usual way and exercise the power of reason’ ” such

that she has “a mental or emotional disorder sufficient to trigger a downward departure for

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diminished mental capacity.”

Although the court may consider evidence of Defendant’s alleged drug and alcohol
abuse and depression under United States v. Booker, 125 S.Ct. 738 (2005), to determine an
appropriate sentence, the presentence report will detail Defendant’ s mental health history.
Therefore, testimony from a psychologist is not necessary, and Defendant’s motion is
DENIED.

IT IS SO ORDERED.

 

 

UN ED STATES DISTRICT IUDGE

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DATE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CR-10004 was distributed by faX, mail, or direct printing on
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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--111

Honorable J ames Todd
US DISTRICT COURT

